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 6                        UNITED STATES DISTRICT COURT
 7                     SOUTHERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,               CASE NO.: 21-CR-2517-JLS
10                      Plaintiff,
                                             ORDER GRANTING JOINT MOTION
11         v.                                TO CONTINUE MOTION
                                             HEARING/TRIAL SETTING
12   ELIZABETH VALENCIA-LOPEZ,
13                      Defendant.
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16         Upon joint motion of the parties, IT IS HEREBY ORDERED that Ms.
17   Valencia-Lopez’s Motion Hearing/Trial Setting, currently scheduled on November
18   12, 2021, is rescheduled to December 10, 2021, at 1:30 p.m. Defendant shall file
19   an acknowledgement of the new hearing date by November 19, 2021.
20         IT IS FURTHER ORDERED that the time between both motion hearing
21   dates is excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), because
22   the defense needs additional time to schedule a change of plea hearing.
23         SO ORDERED.
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     Dated: November 9, 2021
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